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IN THE UNITED STATES DISTRICT COURT
FGR THE CENTRAL DISTRICT GF CALIFORNIA

SOUTHERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff, §
v. § SACV 18-798-CJC-JDE
$2,796,029.91 IN BANK FUNDS AND §
$278,028.88 IN U.S CURRENCY, )
Defendant. §

DECLARATION OF PUBLICATION

Notice of Civil Forfeiture Was posted on an official government internet site
(Www.forfeiture.gov) for at least 30 consecutive days, beginning on May 14, 2018,
as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime
Clairns and Asset Forfeiture Actions, as evidenced by Attachrnent l, Which consists of a copy of the
notice on the WWW.forfeiture.gov Website, and as evidenced by Attachrnent 2, the Advertisement
Certitication Report, Which documents that the notice Was posted on the WWW.forfeiture.gov

Website for at least 18 hours a day for the required 30 consecutive days.
l declare under penalty of perjury that the foregoing is true and correct. EXecuted on
June 13, 2018, at Los Angeles, CA.

Ricardo Reyes

Records EXarniner

 

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Attachment 1

|N THE UN|TED STATES DlSTRlCT COURT
FOR THE CENTRAL DlSTR|CT OF CAL|FORNIA, SOUTHERN DlV|S|ON
COURT CASE NUMBER: SACV18-798; NOT|CE OF FORFE|TURE ACT|ON

Pursuant to 18 U.S.C. § 981 and 18 U.S.C. § 984, the United States filed a
verified Complaint for Forfeiture against the following property:

$278,028.88 U.S. Currency (18-FBl-000056) Which Was seized on October 05, 2017
from Pacific College located at 3160 Red Hill Avenue, Costa l\/lesa, CA 92626

$742,717.14 in funds from Bank Account NumberXXXXXXXX9035 in the name of
Pacific College at Bank of America, Santa Ana, CA (18~FBl-000057) Whlch Was seized
from Pacific College on October 10, 2017 at Bank of America, 1418 North l\/lain Street,
located in Santa Ana, CA

$100,828.75 in funds from Bank Account Number XXXXXXXX3623 in the name of
William Nelson, |la Nelson, William Woo, and Donna Woo at Bank of America, Santa
Ana, CA (18-FBl-000058) Which Was seized on October 10, 2017 at Bank of America,
1418 North l\/laln Street, located in Santa Ana, CA

$540,709.81 in funds from Bank Account Number XXXXXXXX7160 in the name of
William O. Woo, Jr. and Donna Leung Woo at Bank of America, Santa Ana, CA
(18-FB|-000059) Which Was seized on October 10, 2017 at Bank of America, 1418
North l\/lain Street, located in Santa Ana, CA

$370,894.69 in funds from Bank Account Number XXXXXXXXZOQB in the name of
William L. Nelson and |la l\/l. Nelson, aka lla l\/l. Beaver at Bank of America, Santa Ana,
CA (18-FB|~000060) Whlch Was seized on October 10, 2017 at Bank of America, 1418
North l\/laln Street, located in Santa Ana, CA

$11,770.61 in funds from Bank Account Number XXXXXXXX3362 in the name of
l\/larcus B. Tromp at Bank of America, Santa Ana, CA (18-FBl~000092) Which Was
seized on October 10, 2017 at Bank of America, 1418 North l\/lain Street, located in
Santa Ana, CA

$5,992.51 in funds from Bank Account Number XXXXX9750 in the name of Jennifer K.
Woo at Travis Credit Union, Davis, CA (18-FBl-000093) Which Was seized on October
19, 2017 at Travis Credit Union, 1380 E. Covell Blvd., located in Davis, CA

$1,023,116.40 in funds from Bank Account Number XXX9506 in the name of William
L. Nelson and lla Nelson at Schools First Federal Credit Union, Santa Ana, CA
(18-FBl~000094) Which Was seized from William L. Nelson on October 10, 2017 at
Schools First Federal Credit Union, 2115 North Broadway, located in Santa Ana, CA

The custodian of the property is the United States l\/larshals Service, located at 350 W.
1st Street, Suite 3001, Los Angeles, CA 90012

Any person claiming a legal interest in the Defendant Property must file a verified
Claim With the court Within 60 days from the first day of publication (l\/lay 14, 2018) of
this Notice on this official government internet Web site and an Answer to the complaint

 

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or motion under Rule 12 of the Federal Rules of Civil Procedure within 21 days
thereafter. 18 U.S.C. § 983(h)(1) permits a court to impose a civil fine on anyone
asserting an interest in property which the court determines was frivolous.

The verified Claim and Answer must be filed with the Clerk of the Court, 411 West
Fourth Street, Room 1053, Santa Ana, CA 92701-4516, and copies of each served
upon Assistant United States Attorney Steven R. Welk, 312 N. Spring St., 14th Floor,
Los Angeles, CA 90012, or default and forfeiture will be ordered. See, 18 U.S.C. §
983(a)(4)(A) and Rule G(5) of the Supplemental Rules for Admiralty or l\/laritime
Claims and Asset Forfeiture Actions.

The government may also consider granting petitions for remission or mitigation, which
pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any
facts you believe justify the return of the property; and be signed under oath, subject to
the penalty of perjury, or meet the requirements of an unsworn statement under
penalty of perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to
remission or mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 z 9.9. The criteria
for remission of the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for
mitigation of the forfeiture are found at 28 C.F.R. Sections 9.5(b). The petition need
not be made in any particular form and may be filed online or in writing. You should
file a petition not later than 11:59 Pl\/l EST 30 days after the date of final publication of
this notice. See 28 C.F.R. Section 9.3(a). The
https://www.forfeiture.qov/FilinqPetition.htm website provides access to a standard
petition form that may be mailed and the link to file a petition online. lf you cannot find
the desired assets online, you must file your petition in writing by sending it to Assistant
United States Attorney Steven R. Welk, 312 N. Spring St., 14th Floor, Los Angeles, CA
90012. This website provides answers to frequently asked questions (FAQs) about
filing a petition. You may file both a verified claim with the court and a petition for
remission or mitigation. ‘

 

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Attachment 2

Advertisement Certification Report

 

The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day

between lVlay 14, 2018 and June 12, 2018. Below is a summary report that identifies the uptlme for each
day within the publication period and reports the results of the web monitoring system’s daily check that

verifies that the advertisement was available each day.

U.S. v. $2,796,029.91 |N BANK FUNDS AND $278,028.88 |N U.SCURRENCY,

Court Case No: SACV 18-798
For Asset lD(s): See Attached Advertlsement Copy

05/14/2018 . Verifled

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Additional log information is available and kept in the archives for 15 years after the asset has been disposed

 

